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                 EXHIBIT 12
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   Redacted

From:                             ruth85@blueisp.link ruth85@blueisp.link <ruth85@blueisp.link>
Sent:                             Thursday, March 30, 2017 12:32 PM
To:                               Copyright
Subject:                          Counter-Notice Regarding Alleged Copyright Infringement



DATE: March 30, 2017

TO: Roku, Inc.

150 Winchester Circle

Los Gatos, California 95032

Attn: Copyright Agent

Email: copyright@roku.com

I declare UNDER PENALTY OF PERJURY that:

1. I am the individual or a representative of the entity identified in the Notice of Alleged Copyright
Infringement dated March 29, 2017 and referring to content located at:

Roku channel with the access code FLVM3

2. I have a good faith belief that removal or disablement of the content described above was a mistake, the
material was misidentified and/or that the content described above does not infringe the copyright of the IP
Owner. In the space below, I identify the reasons I believe that my content does not violate any rights as
claimed in the Notice.

3. I consent to the jurisdiction of the United States District Court for the jurisdiction in which my address, set
forth below, is located or, if I reside outside the United States, I consent to the jurisdiction of the United States
District Court located in the Northern District of California. I agree to accept service of process from the
Complainant.

4. I acknowledge that this Counter-Notice, including my contact information, may be provided to the
Complainant.

5. I may be contacted at:

My Name: Ruth J. Payton

Telephone: 281-875-3902

My Address: 4421 Gambler Lane, Houston TX, 77060

Email: ruth85@blueisp.link

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Check one of the boxes below.

The information I have provided in this statement is accurate.

I agree: x

I disagree: □

Electronic or Physical Signature:

s/ Ruth J. Payton




                                                        2
